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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE



In re: W. R. GRACE & CO., et al.

                  Reorganized Debtors,

ANDERSON MEMORIAL HOSPITAL,                    Civil Action No. 16-799(LPS)

                  Appellant,                   Bankruptcy No. O1-1139
                                               Bankruptcy Appeal No. 16-44
         v.

W.R. GRACE & CO., et al.

                  Appellees.



  STIPULATION REGARDING BRIEFING SCHEDULE FOR MOTION TO DISMISS

         WHEREAS, Anderson Memorial Hospital("AMH")has appealed rulings by the United

States Bankruptcy Court for the District of Delaware dated May 29, 2008(Denying with

Prejudice Motion for Class Certification, Bankr. Ct. Dkt. No. 18821) and August 25,2016

(Denying with Prejudice Motion to Alter or Amend Order Denying Class Certification, Bankr.

Ct. Dkt. No. 32771)(collectively, the"AMH Appeal");

         WHEREAS,on November 4,2016,the District Court ordered that the AMH Appeal shall

be withdrawn from the court's mandatory mediation program [Dkt. No. 15];

         WHEREAS,Reorganized Debtors W. R. Grace & Co., et al.("Grace") intends to file a

Motion to Dismiss the appeal;

         WHEREAS,on October 27, 2016, counsel for AMH and Grace conferred regarding a

briefing schedule for the Motion to Dismiss;




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         Therefore, with respect to the AMH Appeal, IT IS HEREBY STIPULATED AND

AGREED,by, between, and among the undersigned, the attorneys of record for Grace and

AMH,that:

         1)    Grace shall file its Motion to Dismiss by November 9, 2016.

         2)    AMH shall file its answering brief by December 14, 2016.

         3)    Grace shall file its reply by December 29,2016.

         4)    The page limits of Federal Rule of Bankruptcy Procedure 8013 shall apply, i.e.,

the opening and answering briefs shall not exceed 20 pages, and the reply shall not exceed 10

pages.

         5)    Briefing on the merits of the appeal shall be held in abeyance pending the Court's

consideration ofthe Motion to Dismiss.

Dated: November 8, 2016

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APPROVED AND SO ORDERED BY THE COURT



                                      Dated: November _,2016
LEONARD P. STARK
UNITED STATES DISTRICT JUDGE




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